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                                  1   Thiago Coelho, SBN (324715)
                                      thiago@wilshirelawfirm.com
                                  2   WILSHIRE LAW FIRM
                                      3055 Wilshire Blvd., 12th Floor
                                  3   Los Angeles, California 90010
                                  4   Telephone: (213) 381-9988
                                      Facsimile: (213) 381-9989
                                  5
                                      Attorney for Plaintiff,
                                  6   Julissa Cota
                                  7
                                      Stuart M. Richter (SBN 126231)
                                  8   stuart.richter@katten.com
                                      Gregory S. Korman (SBN 216931)
                                  9
                                      greg.korman@katten.com
                                 10   Austin T. Beardsley (SBN 270046)
                                      austin.beardsley@katten.com
                                 11   KATTEN MUCHIN ROSENMAN LLP
                                      100 Spectrum Center Drive, Suite 1050
                                 12   Irvine, CA 92618-4960
3055 Wilshire Blvd, 12th Floor




                                      Telephone: (714) 966-6819
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




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                                      Facsimile: (714) 966-6821
                                 14
                                      Attorneys for Defendant,
                                 15   Westfield America Limited Partnership
                                 16
                                                                  UNITED STATES DISTRICT COURT
                                 17
                                 18                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA

                                 19
                                      JULISSA COTA, individually and on            CASE NO.: 3:20-cv-01450-JLS-BGS
                                 20   behalf of herself and all others similarly
                                      situated,                                    Assigned to Hon. Judge Janis L. Sammartino
                                 21
                                                          Plaintiff,               JOINT STIPULATED REQUEST FOR
                                 22          v.                                    DISMISSAL PURSUANT TO F.R.C.P. RULE
                                 23                                                41(a); [PROPOSED] ORDER
                                      WESTFIELD AMERICA LIMITED
                                 24   PARTNERSHIP, a Delaware corporation;
                                      and DOES 1 to 10, inclusive,
                                 25
                                                         Defendants.
                                 26
                                 27
                                 28
                                        JOINT STIPULATED REQUEST FOR DISMISSAL PURSUANT TO F.R.C.P. RULE 41(a); [PROPOSED]
                                                                            ORDER
                                      Case 3:20-cv-01450-JLS-BGS Document 9 Filed 12/29/20 PageID.40 Page 2 of 2


                                             TO THE COURT AND ALL PARTIES:
                                  1
                                             Pursuant to Rule 41(a)(1)(A) of the Federal Rules of Civil Procedure, Plaintiff Julissa
                                  2
                                      Cota (“Plaintiff”), and Defendant Westfield America Limited Partnership (“Defendant”),
                                  3   stipulate and jointly request that the Court enter an Order for the following:
                                  4          (1) Dismiss the case with prejudice as to Plaintiff, and without prejudice as to the
                                  5              putative class members. Each party shall bear his or its own attorney fees and costs.

                                  6          The Parties respectfully request that the Court enter the proposed order.

                                  7
                                  8   DATED: December 29, 2020                          Respectfully submitted,
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                                                                                        WILSHIRE LAW FIRM
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                                 12                                               By: /s/ Thiago M. Coelho______________
                                                                                        Thiago M. Coelho
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 13                                                     Attorney for Plaintiff, Julissa Cota
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                                 16
                                      DATED: December 29, 2020                          KATTEN MUCHIN ROSENMAN LLP
                                 17
                                 18
                                 19                                              By: /s/ Gregory S. Korman
                                                                                       Stuart M. Richter
                                 20                                                    Gregory S. Korman
                                 21                                                    Austin T. Beardsley
                                                                                       Attorneys for Defendant, Westfield America
                                 22                                                    Limited Partnership

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                                                  JOINT STIPULATION OF DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
                                                               PURSUANT TO F.R.C.P. RULE 41(a)(1)(A)(ii)
